                   UNITED STATES DISTRICT COURT
                    MIDDLE DISTRICT OF FLORIDA
                          TAMPA DIVISION

 Barbara Grant,

            Plaintiff,                     CASE NO.: 8:21-cv-01977-TPB-CPT

 vs.

 HEALTHCARE REVENUE
 RECOVERY GROUP, LLC,

          Defendant.
 _________________________________/

           PLAINTIFF’S NOTICE OF PENDING SETTLEMENT

       COMES NOW, Plaintiff, Barbara Grant (“Plaintiff”), by and through

undersigned counsel, pursuant to Local Rule 3.09(a), and hereby gives notice that

Plaintiff and Defendant have reached an agreement for settlement, and are in the

process of finalizing the settlement agreement.


Dated: October 11, 2022
                                           Respectfully submitted:

                                           /s/ Benjamin W. Raslavich
                                           BENJAMIN W. RASLAVICH, ESQ.
                                           Florida Bar No.: 0102808
                                           KUHN RASLAVICH, P.A.
                                           2110 West Platt Street
                                           Tampa, Florida 33606
                                           Telephone: (813) 422 – 7782
                                           Facsimile: (813) 422 – 7783
                                           ben@theKRfirm.com
                                           Counsel for Plaintiff
                         Certificate of Service on the following page
                         CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on October 11, 2022, I electronically filed the

foregoing with the Clerk of the Court using the CM/ECF. I also certify that the

foregoing document is being served this day on all counsel either via transmission

of Notices of Electronic Filing generated by CM/ECF or in some other authorized

manner for those counsel or parties who are not authorized to receive electronically

Notices of Electronic Filing.



                                              /s/ Benjamin W. Raslavich
                                              Benjamin W. Raslavich, Esquire
                                              Florida Bar No.: 0102808




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